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EXHIBIT 5
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Lu, Audrey

 

From: Feiner, Howard [hfetner@daypitney.com]

Sent: Friday, April 24, 2009 3:23 PM

To: . Bae;Jean

Cc: | Weiner, Robert; Kratenstein, Andrew, Springer, Felix J; igrudberg@jacobslaw.com

_ Subject: RE: ES! Search Terms
{'m available to talk any time on May 1. Shall we say 10:00?

---—-Original Message——
From: Bae, Jean [mailto:3Bae@mwe.com]
Sent: Friday, April 24, 2009 12:47 PM
To: Fetner, Howard
Cc: Weiner, Robert; Kratenstein, Andrew; Springer, Felix J.; igrudberg@jacobslaw.com
Subject: RE: ESI Search Terms
Howie,

We would like to schedule a meet and confer with you to discuss the issues raised by the parties below.
Are you available on Friday, May 1, 20097 We do not have any scheduling conflicts on that day as of now.

Best regards,

Jean

 

From: Fetner, Howard [mailto:hfemer@daypitney.com]}

Sent: Thursday, April 23, 2009 3:44 PM

To: Kratenstein, Andrew

Cc: Weiner, Robert; Bae, Jean; Springer, Felix J.; igrudberg@jacobslaw.com
Subject: RE; ESI Search Terms

Andrew,

We appreciate the vaiue of a cooperative discovery process, but we are nevertheless not entirely
comfortable with the approach that you have proposed.

With respect to Yale's ESI, search terms only go so far. Like most U.S. universities, Yale has a
highly distributed computer system, using various operating systems, e-mail programs, and back-up
systems. Individual custodians have their own habits for creating, organizing, and storing
documents. This is not an environment that is conducive to a one-size-fits-all search method or a
centralized electronic keyword search. We have already instructed ali custodians who might have
ESI relevant to this case to gather ali of that information and provide it to us. Since the individual
custodians know their own documents best, we left it up to each custodian to apply the search
method that was most likely to uncover ail potentially relevant ESI. Because of Yale's highly
distributed environment and because the Shin matter involved a relatively brief period of time and an
unusual set of circumstances, we believe that this was the most reasonable approach.

With respect to Dongguk's ESI, we are obviously at somewhat of a loss. We don't know anything
about Dongguk’s computer systems, the types of ESI it possesses, the people who created those

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documents, the manner in which those documents are stored, or how Dongguk searches for ESI.
Therefore, it is difficult to offer meaningful insight into how Dongguk could best locate ESI
responsive to Yale's requests. Toward that end, while the search terms you have proposed do not
appear designed to locate ESI responsive to Yale's Requests for Production 1-11, 15, 17, 40-41, 48-
87, 70-72, 77, 89, 91, 93, 95-97, 99-101, 105, or 114, we are not In the best position to determine
how Dongguk might locate such ESI. Based on your superior knowledge, you are in a much better
position to do that than we are, and it makes far more sense for you to identify search terms — or
_other methodologies — designed to locate those documents. We expect Dongguk to use its best
efforts to locate responsive documents and ESI, and we don't think that simply agreeing to lists of
search terms is the best way to do that.

There are also a couple of other discovery-related issues I'd like to address. In reviewing Dongguk’s
abjections to Yale's written discovery requests, we see that Dongguk has objected to many
interrogatories and requests for production on the basis of "the privacy jaws of the Republic of
Korea.” Could you send us copies of the privacy laws on which these objections are based? Do
you intend to withhold information and documents on the basis of the Korean privacy laws, or will
the implementation of a protective order suffice?

As to the protective order, when | last spoke to Jean on the subject she said that Dongguk would
agree to a one-tiered confidentiality system, provided that every Yale employee who views
documents that Dongguk designates as confidentiat signs a stipulation agreeing to abide by the
terms of the protective order. We cannot agree to that. As | told you when we spoke several weeks
ago, an attorney's signing the protective order on behalf of a client should suffice to ensure that the
client's employees abide by the order. If you disagree, we would be willing to Include in the
protective order language requiring counsel for both parties to instruct any employees of their
respective clients who view confidential documents to abide by the protective order.

We are, of course, happy to discuss these issues further in order to arrive at the most efficient
means of completing discovery.

Howie

-~-Original Message----- ;

From: Kratenstein, Andrew [mailto:AKratenstein@mwe.com]

Sent: Friday, April 17, 2009 1:15 PM

To: Fetner, Howard

Ce: Weiner, Robert: Bae, Jean; Springer, Felix J.; Igrudberg@jacobslaw.com
Subject: ESI Search Terms

Howie,

We are reviewing your proposed search term list for Yale's ESI and assume you are doing
the same for the search term lists that we proposed for Dongguk’s ESI. When do you think
you will be in position to exchange proposed revisions to each other's lists?

We have also been thinking more about logistics. It seems to us that, in order to make sure
that both side's ES! searches are sufficient, it may be helpful to review each other's hard copy
documents because the hard copy documents may lead us to alter our respective search
terms. However, we also don't want to delay ESI searches and productions.

So we think the most sensible approach is to: (i} agree on our respective initial search term
lists; (i) run the search terms and, if there are too many false positives for particular terms,
negotiate reasonable modifications that result in fewer false positives; (iii) review and produce
the responsive, non-privileged ESI; and (iv) reserve the right to make reasonable additions or
amendments to the opposing party's search terms based on subsequently discovered
information, the opposing party would run the supplemental search terms and then makes a
supplemental ES! production.

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What do yau think?

Andrew

Andrew B. Kratenstein
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340 Madison Avenue

New York, NY 10173-1922

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